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     Sacramento, CA 95814
3    (916) 444-3994
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4    jmanninglaw@yahoo.com

5    Attorney for Defendant
     JESSICA JUAREZ
6

7                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,              )   Case No.: 2:14 CR 276 JAM
                                            )
10                     Plaintiff,           )   STIPULATION REGARDING EXCLUDABLE TIME
                                            )   PERIODS UNDER SPEEDY TRIAL
11   vs.                                    )   ACT;FINDINGS AND ORDER
                                            )
12   SILVA-SOTO, et al.,                    )   Date:    January 12, 2016
                                            )   Time:    9:15 a.m.
13                     Defendants.          )   Judge:   Honorable John A. Mendez
                                            )
14

15         The United States of America through its undersigned counsel, Samuel

16   Wong, Assistant United States Attorney, together with counsel for defendant

17   Gabriel Silva-Soto, Bradford Weston, III, Esq., counsel for defendant Yasmin

18   Rico, Timothy Zindel, Esq., counsel for defendant Elpidio Pedrizco-Mata, Kyle

19   R. Knapp, Esq., counsel for defendant Rigoberto Ibanez-Rojas, Dina L. Santos,

20   Esq., counsel for defendant Victor Vasquez-Heras, Clemente Jimenez, Esq.,

21   counsel for defendant Elodio Morfin-Soto, Michael E. Hansen, Esq., counsel

22   for defendant Pedro Rojas-Garcia, Michael D. Long, Esq., counsel for

23   defendant Juan Lira-Dejesus, Richard L. Bobus, Esq., counsel for defendant

24   Apolinar Bautista-Ruiz, Mark J. Reichel, Esq., counsel for defendant Marcial

25   Abraham-Montalvo, Olaf W. Hedberg, Esq., counsel for defendant Porfirio

26   Vasquez-Heraz, Christopher R. Cosca, Esq., counsel for defendant Maurilio

27   Vasquez-Heraz, Kristy Kellogg, Esq., and counsel for defendant Jessica

28   Juarez, John R. Manning, Esq., hereby stipulate the following:



                                                 1
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1          1.   By previous order, this matter was set for status conference on

2    October 20, 2015.

3          2.   By this stipulation, defendants now move to continue the status

4    conference until January 12, 2016 and to exclude time between October 20,

5    2015 and January 12, 2016 under Local Codes T-2 (unusual and complex case)

6    and T-4 (to allow defense counsel time to prepare).

7          3.   The parties agree and stipulate, and request the Court find the

8    following:

9               a.       This case involves thirteen co-defendants.    The United

10                       States has produced discovery containing approximately

11                       14,000 pages of reports and pictures, 5 DVD's containing

12                       videos, and 1 CD containing multiple audio files.    The

13                       Superseding Indictment alleges that the crimes alleged

14                       occurred in at least four counties and two judicial

15                       districts.   Based on these facts, the case is unusual and

16                       complex within the meaning of 18 U.S.C. § 3161(h)(7)(A) and

17                       (B)(ii) and Local Code T-2 and it is unreasonable to expect

18                       adequate preparation for pretrial proceedings and trial

19                       itself within the time limits established in the Speedy

20                       Trial Act, 18 U.S.C. § 3161.

21              b.       Counsel for the defendants need additional time to review

22                       the discovery, conduct investigation, and interview

23                       potential witnesses.

24              c.       Counsel for the defendants believe the failure to grant a

25                       continuance in this case would deny defense counsel

26                       reasonable time necessary for effective preparation, taking

27                       into account the exercise of due diligence.

28              d.       The Government does not object to the continuance.



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1               e.      Based on the above-stated facts, the ends of justice to be

2                       served by granting the requested continuance outweigh the

3                       best interests of the public and the defendants in a speedy

4                       trial and the time period of October 20, 2015, to and

5                       including the new status conference date of January 12,

6                       2016, shall be excluded from computation of time within

7                       which the trial of this case must be commenced under the

8                       Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and

9                       (B)(ii) and (iv), and Local Codes T2 (unusual and complex

10                      case) and T4 (reasonable time for defense counsel to

11                      prepare).

12         4.   Nothing in this stipulation and order shall preclude a finding that

13   other provisions of the Speedy Trial Act dictate that additional time periods

14   are excludable from the period within which a trial must commence.

15         IT IS SO STIPULATED.

16
     Dated: October 15, 2015                    /s/ Bradford Weston, III
17                                              BRADFORD WESTON, III
                                                Attorney for Defendant
18                                              Gabriel Silva-Soto

19   Dated: October 14, 2015                    /s/ Timothy Zindel
                                                TIMOTHY ZINDEL
20                                              Attorney for Defendant
                                                Yasmin Rico
21
     Dated: October 14, 2015                    /s/ Kyle R. Knapp
22                                              KYLE R. KNAPP
                                                Attorney for Defendant
23                                              Elpidio Pedrizco-Mata

24   Dated: October 14, 2015                    /s/ Dina L. Santos
                                                DINA L. SANTOS
25                                              Attorney for Defendant
                                                Rigoberto Ibanez-Rojas
26
     Dated: October 15, 2015                    /s/ Clemente Jimenez
27                                              CLEMENTE JIMENEZ
                                                Attorney for Defendant
28                                              Victor Vasquez-Heras



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1    Dated:   October 14, 2015                 /s/ Michael E. Hansen
                                               MICHAEL E. HANSEN
2                                              Attorney for Defendant
                                               Elodio Morfin-Soto
3
     Dated:   October 14, 2015                 /s/ Michael D. Long
4                                              MICHAEL D. LONG
                                               Attorney for Defendant
5                                              Pedro-Rojas-Garcia

6    Dated:   October 14, 2015                 /s/ Richard L. Bobus
                                               RICHARD L. BOBUS
7                                              Attorney for Defendant
                                               Juan Lira-Dejesus
8
     Dated:   October 14, 2015                 /s/ Mark J. Reichel
9                                              MARK J. REICHEL
                                               Attorney for Defendant
10                                             Apolinar Bautista-Ruiz

11   Dated:   October 14, 2015                 /s/ Olaf W. Hedberg
                                               OLAF W. HEDBERG
12                                             Attorney for Defendant
                                               Marcial Abraham-Montalvo
13
     Dated:   October 14, 2015                 /s/ Christopher R. Cosca
14                                             CHRISTOPHER R. COSCA
                                               Attorney for Defendant
15                                             Porfirio Vasquez-Heraz

16   Dated:   October 14, 2015                 /s/ Kristy Kellogg
                                               KRISTY KELLOGG
17                                             Attorney for Defendant
                                               Maurilio Vasquez-Heraz
18
     Dated:   October 14, 2015                 /s/ John R. Manning
19                                             JOHN R. MANNING
                                               Attorney for Defendant
20                                             Jessica Juarez

21

22   Dated:   October 14, 2015                 Benjamin B. Wagner
                                               United States Attorney
23
                                               /s/ Samuel Wong
24                                             SAMUEL WONG
                                               Assistant United States Attorney
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1
                                      ORDER
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                      The Court, having received, read, and considered
4
     the stipulation of the parties, and good cause appearing
5

6    therefrom, adopts the stipulation of the parties in its entirety

7    as its order.    IT IS SO FOUND AND ORDERED this 16th day of
8
     October, 2015.
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11
                                            /s/ John A. Mendez__________
12                                          HONORABLE JOHN A. MENDEZ
                                            UNITED STATES DISTRICT COURT
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